                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TENNESSEE
                              AT GREENEVILLE


UNITED STATES OF AMERICA                     )
                                             )        No. 2:04-CR-79
V.                                           )        District Judge Greer
                                             )        Magistrate Judge Inman
JAIME VARGAS QUINTANILLA                     )


                        REPORT AND RECOMMENDATION


       This defendant has filed a Motion to Suppress Evidence – specifically, five

kilograms of cocaine – seized from his vehicle on October 20, 2004, by Officer Rabun

of the Johnson City Police Department. [Doc. 67]. This motion has been referred to

the United States Magistrate Judge under the standing orders of this Court and pursuant

to 28 U. S. C. § 636(b). An evidentiary hearing was held on April 26, 2005.

      The sole issue is whether defendant knowledgeably and voluntarily consented to

the search of his car after it had been stopped by Officer Sollie Rabun of the Johnson

City Police Department.

      Defendant does not raise any issue about the validity of the stop itself. At the

suppression hearing, Officer Rabun was asked very little concerning his reasons for

effecting the stop in the first place. However, there was relatively extensive testimony

provided in this regard in defendant’s previous preliminary hearing, and a transcript of

that hearing was filed as an exhibit to this suppression hearing, for background

information if nothing else. A brief recitation of those facts, however, is necessary.



Case 2:04-cr-00079-JRG     Document 103          Filed 04/28/05   Page 1 of 8   PageID #: 1
      On August 28, 2004, Officer Rabun stopped a vehicle for an improper display of

registration; the driver was Mr. Vellejo (or Villareal), a co-defendant in this case.

During the course of that traffic stop, Officer Rabun discovered that Mr. Vellejo was in

possession of a small amount of marijuana and drug paraphernalia, and Vellejo was

arrested. Later that day, after Vallejo’s release, the Johnson City Police Department

learned that Vellejo’s finger prints belonged to a Rigoberto Ortiz. In other words,

Vellejo had provided false identification to the Johnson City Police Department.

      On October 19, Officer Rabun observed Vellejo driving a silver or gray Nissan

Altima. Intending to arrest Mr. Vellejo for criminal impersonation, Rabun tried to

catch up with the Altima but was unable to do so.

      The following day, October 20, Rabun was in the same area looking for the

Nissan vehicle. He ultimately saw the vehicle which contained three people, and he

noted that Mr. Vellejo was a passenger in the front seat. Rabun effected a stop of the

Nissan vehicle on Bell Ridge Road; it was driven by Jaime Vargas, the defendant

herein.

      All three occupants of the car, including the driver and defendant herein, are

Hispanic. Inasmuch as the government insists that the defendant consented to a search

of his car, it is appropriate at this juncture to address the issue of language. Defendant

has requested an interpreter at all stages of this proceeding, including this suppression

hearing. Thus, one might assume that defendant speaks little or no English, and that



                                             2


Case 2:04-cr-00079-JRG      Document 103         Filed 04/28/05   Page 2 of 8   PageID #: 2
would be an utterly erroneous assumption; it is abundantly clear that defendant

understands English reasonably well. Indeed, from the context of the hearing, it

appears that not even defendant himself argues that he does not understand and speak

English, at least to some extent. First of all, Officer Rabun testified at length regarding

his conversations with the defendant at the scene of the traffic stop. Those

conversations were totally in English and, according to Officer Rabun, defendant

responded (in English) appropriately to each question asked of him, and even asked

questions of Officer Rabun, which questions Officer Rabun answered in English.

Moreover, during the course of the suppression hearing, defendant was assisted by an

in-court interpreter, Mr. Ramon Cordero.     The defendant testified in his own behalf.

Mr. Cordero stood at defendant’s side and undertook to translate into Spanish the

questions posed by defendant’s attorney and, after defendant answered in Spanish, Mr.

Cordero translated defendant’s answer into English for the benefit of the Court and the

lawyers. In one instance, Mr. Cordero translated defendant’s answer to his attorney’s

question, at the conclusion of which defendant turned around to Mr. Cordero and

corrected Mr. Cordero’s English translation. In another instance, at the conclusion of

a question by his attorney, defendant shook his head from side to side in response to the

question before Mr. Cordero had translated the question into Spanish. A few minutes

later, defendant began answering (in Spanish) a question asked by his attorney before

Mr. Cordero had translated that question into Spanish. During cross-examination by



                                            3


Case 2:04-cr-00079-JRG      Document 103        Filed 04/28/05   Page 3 of 8    PageID #: 3
Assistant United States Attorney Reeves, the following question was asked of

defendant: “ You had no problem understanding the officer?” After that question had

been translated into Spanish by Mr. Cordero, the defendant answered “ no. ”

Apparently feeling that the answer of “ no” was ambiguous, Assistant United States

Attorney Reeves then asked, “ that is not correct?” Before Mr. Cordero could translate

the question into Spanish, defendant interjected, “ no, correct. ”

      Additionally, defendant himself testified in great detail regarding the

conversation he had with Officer Rabun after the traffic stop, and for the most part his

version matches closely that of Officer Rabun’s. As already mentioned earlier, it does

not appear that defendant is arguing that he did not understand Officer Rabun.

Nevertheless, to lay this issue to rest, it is abundantly clear that defendant and Officer

Rabun completely understood one another in all particulars on October 20, 2004. 1

      After Officer Rabun compelled the Nissan to pull over, he approached the driver

(defendant) and asked to see his driver’s license, vehicle registration, and proof of

insurance. Defendant produced a valid driver’s license and, since the car was an

Enterprise rental car, the rental contract. Officer Rabun asked defendant what he was

doing, to which defendant responded that he and his two passengers had just been to the

store and they were returning to their home on Bell Ridge Road in Johnson City.


       1
         It bears mentioning that defendant has an extensive education. He was a public
accountant in Mexico and, here in the United States, was employed by Citigroup in its
collection department; presumably, he was able to communicate with his English-speaking co-
workers.

                                             4


Case 2:04-cr-00079-JRG      Document 103         Filed 04/28/05   Page 4 of 8    PageID #: 4
Officer Rabun then went around to the other side of the car to talk to the passenger,

Mr. Vellejo. It was Mr. Vellejo of course who had provided false identification to the

police a few months earlier. Mr. Vellejo presented a driver’s license to Officer Rabun,

and that license indicated that the prior names and identifications furnished to the

Johnson City Police Department to this individual were false; at least, either the

driver’s license then presented to Officer Rabun was false, or the prior identifications

were false. Certainly, all of them could not be true. Officer Rabun thereupon placed

Mr. Vellejo under arrest for criminal impersonation.

      Officer Rabun then returned his attention to defendant. At this point, defendant

was standing outside the car. Officer Rabun asked defendant if he had any weapons in

the car, to which defendant responded that he did not. Defendant then asked Officer

Rabun why he had stopped him; if Officer Rabun responded to defendant’s question,

neither Officer Rabun nor defendant testified about the response. Because Vellejo

earlier had been arrested for possession of marijuana and drug paraphernalia, Rabun

suspected that the vehicle might contain narcotics. Officer Rabun and defendant

walked toward the rear of the car, at which place Rabun asked defendant, “ Is there

something in the vehicle I need to know about?” Defendant responded, “ No. ”

According to Rabun, he then asked defendant, “ Can I search your vehicle?” According

to defendant, Rabun asked him, “ Is there some problem if I look in your car?” This

factual dispute is of no legal significance. Defendant testified that he then asked



                                            5


Case 2:04-cr-00079-JRG      Document 103        Filed 04/28/05   Page 5 of 8    PageID #: 5
Rabun, “ Why [do you want to search my car]?” , to which Officer Rabun only

responded, “ Does it matter to you, sir, if I search your car?” Rabun testified, at the

preliminary hearing, that he may have asked, “ Do you care if I look in your car?” ,

whereas at the suppression hearing he testified unequivocally that he asked, “ Can I

search your car?” 2 Again, this dispute is of no legal significance since the evidence is

clear that defendant completely understood that Officer Rabun was asking permission to

search the car; there was no confusion or misunderstanding, either by virtue of

language or ambiguity. It bears repeating: Defendant completely understood that

Officer Rabun was asking permission to search the car. When Officer Rabun asked

him if it “ mattered” to him if Rabun searched the car, defendant testified that he

responded “ no. ”

       Defendant’s attorney asked him if he consented to the search, and defendant

answered “ no. ” 3 However, defendant’s ability to communicate relatively easily with

Officer Rabun, and the fact that he clearly understood what Officer Rabun was asking

him, indicates conclusively that the consent he communicated to Officer Rabun was

knowledgeable and voluntary. To phrase it in the terminology favored by the courts,




       2
          Officer Rabun testified that, subsequent to the preliminary hearing, he reviewed his
arrest report and confirmed precisely the question he put to defendant. Actually, there is very
little discrepancy between Rabun’s testimony at the preliminary hearing and the suppression
hearing.
       3
         This is one of the episodes where defendant answered the question before it had been
translated by Mr. Cordero.

                                               6


Case 2:04-cr-00079-JRG       Document 103          Filed 04/28/05   Page 6 of 8     PageID #: 6
the “ totality of the circumstances” clearly shows that defendant’s consent was both

knowledgeable and voluntary. See, e. g. , United States v. Mendenhall, 446 U. S. 544

(1980). 4

         The government has carried its burden of proving that defendant’s consent was

valid.

         It is respectfully recommended that defendant’s motion to suppress be DENIED.

         Any objections to this report and recommendation must be filed within ten (l0)

days of its service or further appeal will be waived. 28 U. S. C. § 636(b)(1)(B) and (C).

United States v. Walters, 638 F. 2d 947-950 (6th Cir. 1981); Thomas v. Arn, 474 U. S.

140 (1985). The objecting party shall procure and file simultaneously with the

objections a transcript of any testimony before the Magistrate Judge. If a transcript is

not filed simultaneously with the objections, the party filing the objections shall either

(1) file a declaration that the transcript was ordered before the objections were filed and

the date on which the party expects the transcript to be filed, or (2) affirmatively state

that a transcript of the testimony presented to the Magistrate Judge is not needed for

resolution of the objections. ] If a party files objections to this report and

recommendation, the attorney for that party shall provide a copy of such objections to

the opposing counsel on the same day the objections are filed, either by hand-delivery


         4
         Two additional facts, although of less importance, nevertheless should be mentioned.
First, a drug dog was on the scene but was not used since defendant already had consented to
the search. Second, defendant subsequently consented, in writing, to a search of his
residence.

                                              7


Case 2:04-cr-00079-JRG       Document 103         Filed 04/28/05   Page 7 of 8     PageID #: 7
or facsimile transmission. The opposing counsel shall file his/her response to the

objections within five business days of the date the objections are filed.

                                      Respectfully submitted,




                                           s/ Dennis H. Inman
                                      United States Magistrate Judge




                                             8


Case 2:04-cr-00079-JRG      Document 103         Filed 04/28/05   Page 8 of 8   PageID #: 8
